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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                   GAINESVILLE DIVISION

             UNITED STATES OF AMERICA,                :
                                                      : CRIMINAL ACTION NOS.
                   v.                                 : 1:10-CR-86-12-RWS-CMS
                                                      : 1:10-CR-86-26-RWS-CMS
             WILLIAM ESPINOZA and                     :
             REMBERTO ARGUETA,                        : CIVIL ACTION NOS.
                                                      : 1:16-CV-203-RWS-CMS
                   Defendants.                        : 1:16-CV-1776-RWS-CMS

                                                 ORDER

                   This matter is before the Court on the Report and Recommendation of

             Magistrate Judge Catherine M. Salinas [Doc. No. 1455]. No objections have been

             filed thereto.   Having carefully reviewed the record and the Report and

             Recommendation, the Report and Recommendation [Doc. No. 1455] is hereby

             approved and adopted as the opinion and order of this Court. As such, Defendants’

             Motions [Doc. Nos. 1416 and 1422] are DENIED, and Certificates of Appealability

             are DENIED. Defendant Espinoza’s Motion for Notice [Doc. No. 1418] is DENIED

             as moot. The Clerk is DIRECTED to close the Civil Actions.

                   SO ORDERED this 14th day of May, 2018.


                                                    ________________________________
                                                    RICHARD W. STORY
                                                    United States District Judge


AO 72A
(Rev.8/82)
